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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1055V
                                      Filed: June 21, 2016
                                         UNPUBLISHED

****************************
LORI LEE-STROBL,                       *
                                       *
                   Petitioner,         *     Joint Stipulation on Damages;
v.                                     *     Influenza (“Flu”) Vaccine; Shoulder
                                       *     Injury; Special Processing Unit (“SPU”)
SECRETARY OF HEALTH                    *
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Anne Carrion Toale, Maglio Christopher & Toale, Sarasota, FL, for petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

        On September 21, 2015, Lori Lee-Strobl (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered from a
shoulder injury as a result of receiving an influenza (“flu”) vaccine on October 23, 2014.
Petition at 1-2; Stipulation, filed June 21, 2016, at ¶ 2, 4. Petitioner further alleges that
she experienced the residual effects of this injury for more than six months. Petition at
2; Stipulation at ¶ 4. “Respondent denies that the influenza vaccine caused petitioner to
suffer from a shoulder injury or any other injury.” Stipulation at ¶ 6.

        Nevertheless, on June 21, 2016, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        The parties stipulate that petitioner shall receive the following compensation:

        a. A lump sum of $93,000.00, in the form of a check payable to petitioner.
           Stipulation at ¶ 8. This amount represents compensation for all items of
           damages that would be available under 42 U.S.C. § 300aa-15(a). Id.

        b. A lump sum of $2,679.34, which amount represents reimbursement of a
           Medicaid lien, in the form of a check payable jointly to petitioner and

                                 State of Connecticut
                                 Department of Administrative Services
                                 165 Capitol Avenue
                                 Hartford, CT 06106-1658

        Petitioner agrees to endorse this check to the State of Connecticut, Department
        of Administrative Services.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                    2
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